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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BETHANY KATZ, et al.                    :             CIVIL ACTION
                                        :
                                        :
            v.                          :
                                        :
                                        :
DNC SERVICES CORPORATION, et al         :             NO.: 16-cv-5800
                                        :

                                   ORDER

            AND NOW, this 17th day of JUNE, 2022, in accordance with the

court’s procedure for random reassignment of cases, it is hereby,

            ORDERED that the above captioned is reassigned from the calendar

of the Honorable C. Darnell Jones to the calendar of the Honorable Gene

E.K. Pratter for further proceedings.



                                            FOR THE COURT:



                                            JUAN R. SÁNCHEZ
                                            Chief Judge


                                            ATTEST:


                                            _/s/George Wylesol____________
                                            GEORGE WYLESOL
                                            Clerk of Court
